                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


 UNITED STATES OF AMERICA,                             )
                                                       )
                Plaintiff,                             )
                                                       )
 v.                                                    )       No. 3:05-CR-36
                                                       )       (VARLAN/GUYTON)
 REGINALD L. HALL, ADVANCED                            )
 INTEGRATED MANAGEMENT SERVICES,                       )
 INC. (“AIMSI”), and DAVID F. REEDER,                  )
                                                       )
                Defendants.                            )


                                MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate.

                The defendants David F. Reeder and Advanced Integrated Management Services, Inc.

 (“AIMSI”) move to adopt Defendant Reginald L. Hall’s Post-Hearing Brief Regarding the

 Admissibility of Expert Testimony by Alice Peterson [Doc. 120]. For good cause shown, the

 Motions to Adopt [Docs. 121, 122] filed by the defendants David F. Reeder and AIMSI are

 GRANTED.

                IT IS SO ORDERED.

                                               ENTER:

                                                     s/ H. Bruce Guyton
                                               United States Magistrate Judge




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